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                    EXHIBIT A
                Case 3:20-cv-00035-TCB Document 1-1 Filed 03/03/20 Page 2 of 77



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Z I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements fof
        redaction of personal or confidential information in OCGA § 9-11-7.1.
0         Is a foreign language.or sign-lan.guage interpreter needed in this case? If so, provide the language(s) required;

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PtaintifP(s),                                                         Defendant(s)
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         ❑         injunct"son/Mandamus/Other Writ                             ❑      Modification
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         redaction of personal or confidential information in OCGA § 9-11-7.1.
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O        Do you or your client need any disability accommodations? If so, please describe the accomrnodatiorrrequest.
      Case 3:20-cv-00035-TCB Document 1-1 Filed 03/03/20 Page 4 of 77


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                                                         Coweta County, GA
                                                       Cindy G. Brown, Clerk
            IN THE SUPERIOR COURT OF COWETA COUNT*e Number: SUV2020000117
                         STATE OF GEORGIA

RUBY SMITH,
on behalf of herself and all others
similarly situated,

      Plaintiff,
                                                            Civil Action File
                                                                           , No:
u

LIBERTY MUTUAL INSURANCE COMPANY, :
                                                            Jury Trial Demanded
      Defendant.


                         CLASS ACTION COMPLAINT

                                 INTRODUCTION

      1.     Plaintiff, RUBY SMITH seeks redress on behalf of herself and all

others siniilarly situated who subscribe to a residential or wireless telephone

number that Defendant made telephone solicitation calls to despite such persons'

registration on the national or Georgia do not call registries.

       2.    In addition, Plaintiff seeks redress on behalf of herself and all others

similarly situated who subscribe to a residential or wireless telephone number that

Defendant made telemarketing calls to without implementing .the minimum

procedures for maintaining a company specific do not call list.

       3.    In addition, Plaintiff on behalf of herself and all others similarly

situated who subscribe to a cellular telephone number that Defendant made
                                           1
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telemarketing calls to using an artificial or prerecorded voice without the prior

express consent of the called party.

      4.     Plaintiff alleges that Defendants' conduct violated the Telephone

Consumer Protection Act, 47 U.S.C. §227 ("TCPA"), the regulations promulgated

thereunder, 47 CFR § 64.1200, and Georgia's Public Utilities Code, O.C.G.A. §

46-5-27.

                    PARTIES AND PERSONAL JURISDICTION

      5.     Plaintiff, RUBY SMITH, is a natural person who resides in Coweta

County, Georgia and is authorized by law to bring this action.

      6.     Defendant, LIBERTY MUTUAL INSURANCE COMPANY

("Libei-ty Mutual") is an insurance company formed in the State of Massachusetts

with its principal place of business located at 175 Berkeley Street, Boston, MA

02116.

      7.     Liberry Mutual provides insurance services to customers throughout

the United States, including in the State of Georgia.

      8.     Liberty Mutual continually and systematically transacts business

within Georgia.

      9.     In the course of its business, Liberty Mutual regularly uses the

telephones to contact persons in Georgia and throughout the United States for the

purposes of selling insurance.

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      10.    In the course of its business, Liberty Mutual initiated telephone calls

to Plaintiff s cellular telephone number in Coweta County, Georgia.

      11.    The calls were received by Plaintiff in Coweta County, Georgia.

      12.    Plaintiff's causes of action arise from telephone calls initiated by

Liberty Mutual to her cellular telephone within Coweta County, Georgia.

      13.    Liberty Mutual is subject to the jurisdiction and venue of this court.

      14.    Liberty Mutual may be served by personal service upon its registered

agent for service of process within the State of Georgia, to wit: Corporation

Service Company, 40 Technology Pkwy South, Suite 300, Norcross, GA 30092.

      15.    Other defendants may be discovered in the course of litigation. As

such, Plaintiff respectfully requests that this Court permit the addition of later

discovered Defendants upon motion.

                                STATEMENT OF FACTS

      16.    The named Plaintiff is the subscriber and regular user of cellular

telephone service for telephone number (678) 634-6053.

      17.    This is her personal cellular telephone number that she uses for

residential, consumer purposes.

      18.    Plaintiff registered her telephone number on the National Do Not Call

Registry on October 20, 2016.



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      19.      By registering for the National Do Not Call Registry, Plaintiff also

registered for the Georgia Do Not Call Registry.

      20.      In 2019, Liberty made telephone calls to Plaintiffls cellular telephone

number for the purpose of soliciting the sale of Liberty Mutual products and /or

services.

         21.   Plaintiff has never provided Liberty Mutual with her cellular

telephone number.

         22.   Plaintiff has never provided Liberty Mutual with permission to make

or initiate calls to her cellular telephone number. In fact, Liberty Mutual called

Plaintiff after she asked it to stop calling.

         23.   Plaintiff does not have an established business relationship with

Liberty Mutual.

         24.   The telephone calls were made using an automatic telephone dialing

system.

         25.   The telephone calls actually played an artificial and/or prerecorded

voice.

         26.   For example, Plaintiff recorded a call that she received on or about

October 10, 2019, by saying "Hello." The pterecorded voice then said in part:

               Hello, this is Liberty Mutual. The sooner you review your quote, the
               more we can help you save. To find out your options, press 1. Press 9
               to opt out. [pause] Hello, this is Liberty ...

                                                El
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The above recording stopped when Plaintiff pressed 1 to spealc to a representative.

After Liberly Mutual played another recording asking Plaintiff to hold while it

connected her with Liberty Mutual Insurance, a human being identifying herself as

from Liberty Mutual came on the line, at which time Plaintiff explained that she

had received multiple calls from Liberty Mutual, that on multiple prior calls she

had pressed "9" to opt out, and complained that the calls continued. Plaintiff

reiterated her prior requests to stop calling on this call.

      27.     The fact that the voice used on the telephone messages is artificial

and/or prerecorded is clear to the listener.

      28.     The voice requests that the recipient of the call press 1 to find out her

options for purchasing insurance or to press 9 to opt out. The initial prerecorded

message then "looped," which no human being would do.

       29.    The use of a touchtone keypad to interact with the voice on the

telephone indicates that the consumer is speaking with a previously recorded or

computer voice rather than a live person.

       30.    The use of an artificial or prerecorded voice is also indicative of the

use of an automatic telephone dialing system.

       31.    The purpose of the calls was to attempt to sell insurance products or

services to Plaintiff.


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        32.   The telephone calls made by Liberty Mutual to Plaintiff and to the
                                                                         s




class members' cellular telephone numbers were knowingly and willfully initiated.

        33.   Plaintiff did not desire to receive such calls to her cellular telephone

number, and Plaintiff and members of the class suffered harm as a result including,

but not limited to, annoyance, nuisance, harassment, invasion of the their

respective privacy interests, intrusion upon seclusion, trespass or occupation of

their respective telephone lines, and the time spent making do not call requests

deemed futile by the Defendants' refusal to honor such requests.

        34.   Moreover, Congress and the General Assembly have statutorily

elevated the rights of consumers to be free from and legally protected against the

types of calls which violate the TCPA and Public Utilities Code, and Liberty

Mutual has harmed the named Plaintiff and class members by invading this legally

protected right.

        35.   The legally protected rights under the TCPA and the Georgia Public
                                                                 I




Utilities Code closely relate to rights enforceable at common law, including

without limitation to the torts of intrusion upon seclusion, nuisance, harassment,

tortuous infliction of emotional distress, and unreasonable collection practices.

        36.   All conditions precedent to bringing this action have been complied

with.



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                                 CLASS ALLEGATIONS

                CLASS I: ROBOCALL CLASS (Counts 1, 2, 3, and 4)

      37.    This action is brought on behalf of a class defined as (i) all persons to

whom a call was initiated by or at the direction of Defendants (ii) to such person's

cellular telephone number (iii) for the purposes of selling insurance products or

services (iv) which used an artificial or prerecorded voice (iv) in the four year

period preceding the filing of this action, through the date of class certification. ;

      38.    Plaintiff alleges a subclass of such persons who did not provide prior
                                       G


express written consent to receive such calls.

      39.    The exact size of the class is information within the exclusive

knowledge of the Defendants.

      40.    The class is so numerous that joinder of all members is impractical.

      41.    The allegation of the-previous paragraph is based, in part, upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, 2) the calls to Plaintiff were generic in a fashion which

indicates they were made using automated means; and 3) and the very purpose of

prerecorded voice calls is to call numerous persons in a short amount of time.

      42.    There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues are:

                                           7
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             a. Whether Defendant made calls using an automatic telephone

                dialing systein or an artificial or prerecorded voice;

             b. Whether Defendant has prior express written consent to make any

                such calls; and

             c. Whether the telephone calls were made knowingly or willfully.

       43.   The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       44:   Plaintiff will fairly and adequately protect the interests of the class.

She has retained counsel experienced in handling TCPA actions and class actions.

Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       45.   Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarketing calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not
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obtain or even attempt to obtain relief, whether because they are unaware of their

right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       46. Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       47. Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       48. Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

her claims for injunctive relief.

       CLASS II: DO 1oTOT CALL REGISTRY CLASS (Counts.5, 6, 7, and 8)

      49.       This action is brought on behalf of a class defined as (i) all persons to

whom two or more calls were initiated within any 12 month period by or at the

direction of Defendants (ii) to such person's residential or wireless telephone

number (iii) for the 'purposes of selling insurance products or services (iv) after

such person registered for the National Do Not Call Registry; (v) excluded from

the class are persons with whom Defendant can show it has an established business

relationship.

      50.       Plaintiff alleges a subclass of such persons whose numbers are

included in the Georgia Do Not Call Registry.



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      51.       The exact size of the class is information within the exclusive

knowledge of the Defendants.

      52.       The class is so numerous that joinder of all members is impractical.

      53.       The-allegation of the previous paragraph is based, in part, upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, indicating Defendant did not honor do not call

registrations; 2) The calis to Plaintiff were generic in a fashion which indicates

they were made using automated means; and 3) and the very purpose of _

prerecorded voice calls is to call numerous persons in a short amount of time.

      54.       There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues ate:

            I   a. Whether Defendant made telephone solicitation calls to telephone

                   numbers registered on the National or Georgia Do Not Call

                   Registry; and

                b. Whether the telephone calls were made knowingly or willfully.

       55. The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       56. Plaintiff will fairly and adequately protect the interests of the class.

She has retained counsel experienced in handling TCPA actions and class actions.

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Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       57.   Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate, over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarketing calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not

obtain or even attempt to obtain relief, whether because they are unaware of their

right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       58.   Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       59. Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       60.   Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

her claims for injunctive relief.

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       CLASS III: INTERNAL DO NOT CALL LIST CLASS (Counts 9,10)

      61.    This action is brought on behalf of a class defined as (i) all persons to

whom two or more calls were initiated by or at the direction of Defendants (ii) to

such person's residential or wireless telephone number (iii) for the purposes of

selling insurance products or services.

      62.    Plaintiff alleges a subclass of such persons who received such a call

after making a do not call request to Liberty Mutual.

      63.    The exact size of the class is information within the exclusive

knowledge of the Defendants.

      64.    The class is so numerous that joinder of all members is impractical.

      65.    The allegation of the previous paragraph is based, in part, upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, indicating Defendant did not honor do not call requests;

2) The calls to Plaintiff were generic in a fashion which indicates they were made
                                                                           ,
using automated means; and 3) and the very purpose of prerecorded voice calls is

to call numerous persons in a short amount of time.

      66.    There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues are:



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             a. Whether Defendant made telemarketing calls to telephone numbers

                without maintaining the minimum standards required by those

                engaged in telemarketing; and

             b. Whether the telephone calls were made knowingly or willfully.

       67. The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       68. Plaintiff will fairly and adequately protect the interests of the class

She has retained counsel experienced in handling TCPA actions and class actions.

Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       69. Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication ofthe controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarketing calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not

obtain or even attempt to obtain relief, whether because they are unaware of their

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right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       70. Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       71. Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       72. Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

lier claims for injunctive relief.

                                     CAUSES OF ACTION

      COUNT ONE: TELEPHONE CONSUMER PROTECTION ACT:
     INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(b)(3)(A) TO
  REQUIRE DEFENDANT CEASE UNLAWFUL USE OF AUTOMATIC
              TELEPHONE DIALING SYSTEMS

       73.   The acts described above constitute violations of the Telephone

Consumer Protection Act by Defendant's use of an automatic telephone dialing

system to malce and/or initiate calls to Plaintiff s and to class members' cellular

telephone numbers. As evidenced by Defendant's continuous calling of Plaintiff,

in violation of the TCPA, Defendant's policies and procedures violate the TCPA

on a continuing basis.

        74. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.


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       75. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from further use of automatic telephone dialing

system.

       76. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(b)(3)(A) to enjoin and prohibit

Defendant from use of an automatic telephone dialing system in the future.

       77. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(b)(3)(A) to enjoin and prohibit

Defendant from continuing use of an automatic telephone dialing system without

the prior express consent of the called party in the future.

        COUNT TWO: INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C.
 §227(b)(3)(A) TO REQUIRE DEFENDANT CEASE UNLAWFUL USE OF
         ARTIFICIAL OR PRERECORDED VOICE MESSAGES

          78. The acts described above constitute violations of the Telephone

Consumer Protection Act by Defendant's use of artificial or prerecorded voice

message to make and/or initiate calls to Plaintiff's and to class members' cellular

telephone numbers. As evidenced by Defendant's continuous calling of Plaintiff,

in violation of the TCPA, Defendant's policies and procedures violate the TCPA

on a continuing basis.

          79. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

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          80. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from further use of artificial or prerecorded voice

calls.

          81. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(b)(3)(A) to enjoin and prohibit

Defendant from use of artificial or prerecorded voice calls in the future.

          82. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(b)(3)(A) to enjoin and prohibit

Defendant from continuing use of artificial or prerecorded voice calls without the

prior express consent of the called party in the future.

             COUNT THREE: MONETARY DAMAGES PURSUANT TO 47
         U.S.C. § 227(b)(3)(B) FOR IMPROPER USE OF AN AUTOMATIC
                         TELEPHONE DIALING SYSTEM

          83. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act's prohibitions on the use of automatic telephone dialing

systems and the regulations promulgated thereunder.
                                                              ~
          84. Defendant used an automatic telephone dialing system when it made

and/or initiated calls to plaintiff s cellular telephone number.

          85. Defendant's violations of the TCPA include, but are not limited to, the

following:



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    I

          86. Making and/or initiating telephone calls using an automatic telephone

dialing system to any telephone number assigned to a cellular telephone service, in

violation of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 CFR §§ 64.1200(a)(1)(iii) and

(a)(2)•

          87. As a result of Defendant's actions, Plaintiff and the members of the

class are entitled to an award of damages of $500.00 for each such violation.

          88. Defendant's violations were committed willfully and knowingly.

          89. Plaintiff, on behalf of himself and the class, requests the court treble

damages pursuant to 47 U.S.C. §227(b)(3).

          COUNT FOUR: MONETARY DAMAGES PURSUANT TO 47 U.S.C:
          § 227(b)(3)(B) FOR IMPROPER USE OF AN ARTIFICIAL OR
                       PRERECORDED VOICE MESSAGE
                                ,
          90. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act's prohibitions on the use of artificial or prerecorded voice

calls and the regulations promulgated thereunder.

          91. Defendant used an artificial or prerecorded voice when it made and/or

initiated calls to plaintifi's cellular telephone number.

          92. Defendant's violations of the TCPA include, but are not limited to, the

following:

          93.   Making and/or initiating telephone calls using an artificial or

prerecorded voiced message to any telephone number assigned to a cellular

                                            17
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telephone service, in violation of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 CFR §§

64.1200(a)(1)(iii) and (a)(2).

       94. As a result of Defendant's actions, Plaintiff and the members of the

class are entitled to an award of damages of $500.0.0 for each such violation.

       95. Defendant's violations were committed willfully and knowingly.

       96. Plaintiff, on behalf of himself and the class, requests the court treble

damages pursuant to 47 U.S.C. §227(b)(3).

         COUNT FIVE: TELEPHONE CONSUMER PROTECTION ACT:
         MONETARY DAMAGES PURSUANT TO 47 U.S.C. §227(c)(5)(B)
            FOR NATIONAL DO NOT CALL VIOLATIONS

       97. The acts of Defendants constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

       98. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemaking proceeding concerning tlie need to protect

residential telephone subscribers' privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c)(1).

       99. The TCPA required the FCC to conclude -such proceedings by issuing

regulations to implement methods and procedures for protecting such privacy

rights in an efficient, effective, and economic manner and without the imposition

of any additional charge to telephone subscribers. 47 U.S.C. § 227(c)(2).
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       100. The TCPA specifically permitted the FCC to issue regulations

requiring the establishment and operation of a single national database to compile a

list of telephone numbers of residential subscribers who object to receiving

telephone solicitations. 47 U.S.C. § 227(c)(3).

       101. The Federal Communications Commission's regulations provide:

      No person or entity shall initiate any telephone solicitation to...
      [a] residential telephone subscriber who has registered his or her telephone
      number on the national do-not-call registry of persons who do not wish to
      receive telephone solicitations that is maintained by the Federal
      Government. Such do-not-call registrations must be honored indefinitely, or
      until the registration is cancelled by the consumer or the telephone number is
      removed by the database administrator.

47 C.F.R. § 64.1200(c)(2).

       102. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       103. Defendant failed to maintain the procedures required by 47 C.F.R. §

64.1200(c)(2)(i).

       104. Defendant did not record Plaintiffls request not to receive calls from

Defendants.

       105. Defendant did not use any process to prevent them from calling

numbers on the National Do Not Call Registry.

       106. As a result of Defendant's actions in violation of the TCPA and the

Federal FCC's implementing regulations, Plaintiff is entitled to an award of

                                         E~~
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damages up to $500.00 for each such violation pursuant to 47 U.S.C. §

227(c)(5)(B)•

       107. Defendant was.aware of the TCPA's do not call rules and continued to

call. Defendant's conduct in violation of the TCPA and the Federal

Communications Commission's iniplementing regulations were willful or

knowing.

       108. Plaintiff requests this Court treble damages for each such violation

pursuant to 47 U.S:C. § 227(c)(5).

         COUNT SIX: TELEPHONE CONSUIVIER PROTECTION ACT:
        INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(c)(5)(A) TO
          PREVENT NATIONAL DO NOT CALL VIOLATIONS
                                                                        ,
       109. The acts of Defendant 'constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

       110. The Federal Communications Commission's regulations provide:

      No person or entity shall ,initiate any telephone solicitation to...
      [a] residential telephone subscriber who has registered his or her telephone
      number on the national do-not-call registry of persons who do not wish to
      receive telephone solicitations that is maintained by the Federal
      Government. Such do-not-call registrations must be honored indefinitely, or
      until the registration is cancelled by the consumer or the telephone number is
      removed by the database administrator.

47 C.F.R. § 64.1200(c)(2).

       111. This provisiori is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

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damages up to $500.00 for each such violation pursuant to 47 U.S.C. §

227(c)(5)(B)•

       107. Defendant was aware of the TCPA's do not call rules and continued to

call. Defendant's conduct in violation of the TCPA and the Federal

Communications Commission's implementing regulations were willful or

knowing.

       108. Plaintiff requests this Court treble damages for each such violation

pursuant to 47 U.S.C. § 227(c)(5).

         COUNT SIX: TELEPHONE CONSUMER PROTECTION ACT:
        INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(c)(5)(A) TO
          PREVENT NATIONAL DO NOT CALL VIOLATIONS

       109. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

       110. The Federal Communications Commission's regulations provide:

      No person or entity shall initiate any telephone solicitation to...
      [a] residential telephone subscriber who has registered his or her telephone
      number on the national do-not-call registry of persons who do not wish to
      receive telephone solicitations that is maintained by the Federal
      Government. Such do-not-call registrations must be honored indefinitely, or
      until the registration is cancelled by the consumer or the telephone number is
      removed by the database administrator.

47 C.F.R. § 64.1200(c)(2).

       111. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

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       112. Defendant did not use any process to prevent them from calling

numbers on the National Do Not Call Registry.

       113. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the TCPA, Defendant's policies and procedures violate the TCPA on a

continuing basis.

       114. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

       115. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from engaging in telemarketing or making

telephone solicitations.

       116. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephorie solicitations.

       117. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations to

telephone numbers on the National Do Not Call Registry.




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           COUNT SEVEN: GEORGIA PUBLIC UTILITIES CODE: '
        MONETARY DAMAGES PURSUANT TO O.C.G.A. § 46-5-27(i) FOR
              GEORGIA DO NOT CALL VIOLATIONS

        118. The acts of Defendant constitute violations of the Georgia Public

Utilities Code.

        119. The Georgia Pubic Utilities Code Provides:

                    No person or entity shall make or cause to be made any
                    telephone solicitation to the telephone line of any residential,
                    mobile, or wireless subscriber in this state who has given notice
                    to the commission, in accordance with regulations promulgated
                    under subsection (d) of this Code section, of such subscriber's
                    objection to receiving telephone solicitations.

        O.C.G.A. § 46-5-27(c).

        120. By registering for the National Do Not Call Registry, plaintiff and

members of the class in Georgia also registered for the Georgia Do Not Call

Registry. See O.C.G.A. § 46-5-27(d)(4).

        121. By making telephone solicitation calls to numbers assigned to the

Georgia Do Not Call Registry, Defendant violated the Georgia Public Utilities

Code:

        122. Defendant knew it was making the telephone solicitation calls at issue

and knew that it had an obligation to determine if such numbers were on either the

National or Georgia Do Not Registries, but it failed to do so.




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         123. Plaintiff, and members of the putative class in Georgia, are entitled to

damages of $2,000 for each such lcnowing violation pursuant to O.C.G.A. § 46-5-

27(i).

              COUNT EIGHT: GEORGIA PUBLIC UTILITIES CODE:
           INJUNCTIVE RELIEF PURSUANT TO O.C.G.A. § 46-5-27(i) TO
             PREVENT GEORGIA DO NOT CALL VIOLATIONS

         124. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

         125. The Georgia Pubic Utilities Code Provides:

                     No person or entity shall make or cause to be made any
                     telephone solicitation to the telephone line of any residential,
                     mobile, or wireless subscriber in this state who has given notice
                     to the -commission, in accordance with regulations promulgated
                     under subsection (d) of this Code section, of such subscriber's
                     objection to receiving telephone solicitations.

O.C.G.A. § 46-5-27(c).

         126. By registering for the National Do Not Call Registry, plaintiff and

members of the class in Georgia also registered for the Georgia Do Not Call

Registry. See O.C.G.A. § 46-5-27(d)(4).

         127. By making telephone solicitation calls to numbers assigned to the

Georgia Do Not Call Registry, Defendant violated the Georgia Public Utilities

Code.




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       128. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the Georgia Public Utilities Code, Defendant's policies and procedures

violate Georgia law on a continuing basis.

       129. Based on Defendant's pattern and practice of violating the Georgia

law, future violations will continue.

       130. The only way to prevent the Defendant from continuing to violate

Georgia law is to enjoin. the defendant from engaging in telemarketing or making

telephone solicitations, to persons in the State of Georgia.

       131. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to O.C.G.A. § 46-5-27(i) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations to

persons in the State of Georgia. .

       132. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to O.C.G.A. § 46-5-27(i) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations to

telephone numbers on the Georgia Do Not Call Registry.

         COUNT NINE: TELEPHONE CONSUMER PROTECTION ACT:
         MONETARY DAMAGES PURSUANT TO 47 U.S.C. §227(c)(5)(B)
            FOR INTERNAL DO NOT CALL VIOLATIONS

       133. The acts of Defendants constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

                                          ~
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       134. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemaking proceeding concerning the need to protect

residential telephone subscribers privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c)(1).

       135. Congress specifically directed the FCC to "compare and evaluate

alternative methods and procedures" including the use of "company specific `do

not call' systems[.]" 47 U.S.C. § 227(c)(1)(A).

       136. The TCPA required the FCC to conclude such proceedings by issuing

regulations to implement methods and procedures for protecting such privacy

rights in an efficient, effective, and economic manner and without the imposition

of any additional charge to telephone subscribers. 47 U.S.C. § 227(c)(2).

       137. The Federal Communications Commission's regulations provide:

              No person or entity shall initiate any call for telemarketing purposes
              to a residential telephone subscriber unless such person or entity has
              instituted procedures for maintaining a list of persons who request not
              to receive telemarketing calls made by or on behalf of that person or
              entity.

       47 C.F.R. § 64.1200(d).

       138. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       139. The procedures required must include the following:



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            If a person or entity making a call for telemarketing purposes (or on
            whose behalf such a call is made) receives a request from a residential
            telephone subscriber not to receive calls from that person or entity, the
            person or entity must record the request and place the subscriber's
            name, if provided, and telephone number on the do-not-call list at the
            time the request is made. Persons or entities making calls for
            telemarketing purposes (or on whose behalf such calls are made) must
            honor a residential subscriber's do-not-call request within a reasonable
            time from the date such request is made. This period may not exceed
            thirty days from the date of such request. If such requests are recorded
            or maintained by a party other than the person or entity on whose
            behalf the telemarketing call is made, the person or entity on whose
            behalf the telemarlceting call is made will be liable for any failures to
            honor the do-not-call request. A person or entity making a call for
            telemarketing purposes must obtain a consumer's prior express
            permission to share or forward the consumer's request not to be called
            to a party other than the person or entity on whose behalf a
            telemarketing call is made or an affiliated entity.

          47 C.F.R. § 64.1200(d)(3).

       140. Recognizing that most callers have the ability to record and honor

such requests immediately, the FCC confirmed that such requests must be honored

within a reasonable time and that "telemarketers with the capability to honor such

company-specific do-not-call requests in less than thirty days must do so." Rules

and Regulation Implementing the Telephone Consumer Protection Act of 1991, 18

FCC Rcd. 14014, ¶ 94 (FCC 2003).

       141. Because Defendants use an platform with an established means of

opting out with by pressing "9", Defendants have the capability to honor such




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DNC requests immediately or at least by the following day. It was unreasonable

not to honor such requests.

        142. Plaintiff repeatedly asked Liberty Mutual to stop calling her, including

through pressing "9" during calls, which should have automatically and

instantaneously logged — and honored — her request not to receive future calls.

        143. Liberty Mutual kept calling Plaintiffs cell phone — which is her

personal phone — despite these repeated requests.

        144. Liberty Mutual does not have an adequate written policy designed to

prevent calling persons like plaintiff, who have requested not to be called.

Alternatively and,additionally, Liberty Mutual does not honor whatever policy it

does have, or it has failed to adequately train the persons who maintain such.

       145. Defendants failed to maintain the procedures required by 47 C.F.R. §

64.1200(d).

       146. Defendants did not record Plaintiffs request not to receive calls from

Defendants.

       147. Defendants did not place Plaintiff's name and number on its do not

call list at the time of Plaintiffs request.

       148. Defendants did not honor Plaintiff's request not to be called within a

reasonable time from the date such request was made.



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           149. As a result of Defendants' actions in violation of the TCPA and the

    Federal FCC's implementing regulations, Plaintiff is entitled to an award of

    damages up to $500.00 for each such violation pursuant to 47 U.S.C. §

    227(c)(5)(B)•

           150. Defendants are aware of the TCPA's do not call rules and has

,   continued to call after requests to stop calling. Defendants' conduct in violation of

    the TCPA and the Federal Communications Commission's implementing

    regulations was willful or knowing.

           151. Plaintiff requests 'this Court treble damages for each such violation

    pursuant to 47 U.S.C. § 227(c)(5).

           152. Defendant was aware of the TCPA's do not call rules and continued to

    call. Defendant's conduct in violation of the TCPA and the Federal

    Communications Commission's implementing regulations were willful or

    knowing.

           153. Plaintiff requests this Court treble damages for each such violation

    pursuant to 47 U.S.C. § 227(c)(5).

             COUNT TEN: TELEPHONE CONSUMER PROTECTION ACT:
           INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(c)(5)(A) FOR
                 INTERNAL DO NOT CALL VIOLATIONS

           154. The acts of Defendants constitute violations of the Telephone

    Consumer Protection Act and/or its implementing regulations.
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       155. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemalcing proceeding concerning the need to protect

residential telephone subscribers privacy rights to avoid receiving telephone

solicitations to which the object. 47 iJ.S.C. § 227(c)(1).

       156. The Federal Communications Commission's regulations provide:

              No person or entity shall initiate any call for telemarketing purposes
              to a residential telephone subscriber unless such person or entity has
              instituted .procedures for maintaining a list of persons who request not
              to receive telemarketing calls made by or on behalf of that person or
              entity.

      47 C.F.R. § 64.1200(d).

       157. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       158. The procedures required must include the following:

              If a person or entity making a call for telemarketing purposes (or on
              whose behalf such a call is made) receives a request from a residential
              telephone subscriber not to receive calls from that person or entity,'the
              person or entity must record the request and place the subscriber's
              name, if provided, and telephone number on the do-not-call list at the
              time the request is made. Persons or entities making calls for
              telemarketing purposes (or on whose behalf such calls are made) must
              honor a residential subscriber's do-not-call request within a reasonable
              time from the date such request is made. This period may not exceed
              thirty days from the date of such request. If such requests are recorded
              or maintained by a party other than the person or entity on whose
              behalf the telemarketing call is made, the person or entity on whose
              behalf the telemarketing call is made will be liable for any failures to
              honor the do-not-call request. A person or entity making a call for
              telemarketing purposes must obtain a consumer's prior express

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            permission to share or forward the consumer's request not to be called
            to a party other than the person or entity on whose behalf a
            telemarketing call is made or an affiliated entity.

       47 C.F.R. § 64.1200(d)(3).

       159. Recognizing that most callers have the ability to record and honor

such requests immediately, the FCC confirmed that such requests must be horiored

within a reasonable time and that "telemarketers with the capability to honor such

company-specific .do-not-call requests in less than thirty days must do so." Rules

and Regulation Implementing the Telephone Consumer Protection Act of 1991, 18

FCC Rcd. 14014, ¶ 94 (FCC 2003).

       160. Because Defendants use an platform with an established means of

opting out with by pressing "9", Defendants have the capability to honor such

DNC requests immediately or at least by the following day. It was unreasonable

not to honor such requests.

       161. Plaintiff repeatedly asked Liberty Mutual to stop calling her, including

through pressing "9" during calls, which should have automatically and

instantaneously logged — and honored — her request not to receive future calls.

       162. Liberty Mutual kept calling Plaintiff's cell phone — which is her

personal phone — despite these repeated requests.

       163. Liberty Mutual does not have an adequate written policy designed to

prevent calling persons like plaintiff, who have requested not to be called.

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Alternatively and additionally, Liberty Mutual does not honor whatever policy it

does have, or it has failed to adequately train the persons who maintain such.

        164. Defendants failed to maintain the procedures required by 47 C.F.R. §

64.1200(d).

        165. Defendants did not record Plaintiff s request not to receive calls from

Defendants.

        166. Defendants did not place Plaintiffs name and number on its do not

call list at the time of Plaintiff's request.

        167. Defendants did not honor Plaintiffls request not to be called within a

reasonable time from the date such request was made.

        168. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the TCPA, Defendant's policies and procedures violate the TCPA on a

continuing basis.

       169. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

        170. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from engaging in telemarketing.

       171. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarketing.

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                 COUNT ELEVEN: BAD FAITH ATTORNEY FEES

       172. Defendant willingly, knowingly, and intentionally violated the TCPA

in making autodialed telemarlceting calls and/or using an artificial or prerecorded

voice message to Plaintiff s and class member's cellular telephone numbers

without the parties' prior express written consent.

       173. Defendant willingly, lcnowingly, and intentionally violated the TCPA

and Georgia's Public Utilities Code in making telephone solicitation calls to

persons registered on the National and Georgia Do Not Call Registries.

       174. Defendant willingly, knowingly, and intentionally violated the TCPA

and in making telemarketing calls without maintaining minimum procedures for

maintaining a company specific do not call list.

       175. "Every intentional tort involces a species of bad faith that entitles a

person wronged to recover the expenses of litigation including attorney fees."

TyleN v. Lincoln, 272 Ga. 118, 527 S.E.2d 180 (Ga. 2000).

       176. "There is no requirement that a viable state law claim exist in order

for the jury to award litigation expenses pursuant to OCGA § 13-6-11. Rather,

`OCGA § 13-6-11 constitutes a vehicle for the collection of attorney fees' even

when only a federal law claim for damages is submitted to the finder of fact."

Fulton County v. Legacy Inv. Group, LLC, 296 Ga.App. 822, 827 (2009).

       177. Defendant has acted in bad faith, been stubbornly litigious or caused

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the Plaintiff, and the class members, unnecessary trouble and expense, and as such,

Plaintiff and the class members are entitled to an award of litigation expenses,

including a reasonable attorneys' fee, pursuant to O.C.G.A. § 13-6-1 l.

                                 JURY TRIAL DEMAND

       178. Plaintiff hereby demands a trial by jury on all issues so triable.

                       DOCUMENT PRESERVATION DEMAND

       179. Plaintiff hereby demands that the Defendant take affirmative steps to

preserve all telephone recordings, data, emai_ls, other recordings, phone. irecords,

dialer records, documents and all other tangible things that relate to the allegations

herein, Plaintiff or the putative class members, or the making of telephone calls,

the events described herein, any third party, telemarketer or vendor associated with

any telephone call, campaign, telemarketing, account, sale or file associated with

plaintiff or the putative class members, and any account or number or symbol

relating to any of them. These materials are very likely relevant to the litigation of

this claim. If Defendant is aware of any third party that has possession, custody or

control of any such materials, Plaintiff demands that Defendant request that such

third party also take steps to preserve the materials. This demand shall not narrow

the scope of any independent document preservation duties of the defendant.




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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

himself and the class he seeks to represent against Defendant, as follows:

      A.    Certification of this matter to proceed as a class action;

      B.    That Plairitiff and the class be awarded damages in the liquidated

            amounts provided by the TCPA and Georgia Public Utilities Code;

      C.    That Plaintiff and the class be awarded treble damages;

      D.    In order to ensure plaintiff and members of the class do not receive

            future calls like those delineated here, that the defendant be

            permanently enjoined from making telemarketing calls;

      E.     That Plaintiff and members of the class be awarded the expenses of

             litigation, including a reasonable attorneys' fee; and

      F.     That Plaintiff and members of the class be awarded such additional

             relief-as deemed just and proper.



             Respectfully submitted,




                              [Signatures on Following Page]




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                             SKAAR & FEAGLE, LLP

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                                                                         Cindy G. Brown, Clerk
            IN THE SUPERIOR COURT OF COWETA                 COUNIP*e Number: SUV2020000117
                         STATE OF GEORGIA

RUBY SMITH,
on behalf of herself and all others
similarly situated,

      Plaintiff,
                                                            Civil Action File No.
V.                                                    :

LIBERTY MUTUAL INSURANCE COMPANY, :
                                                            Jury Trial Demanded
      Defendant.


                         CLASS ACTION COMPLAINT

                                 INTRODUCTION

      1.     Plaintiff, RUBY SMITH seeks redress on behalf of herself and all

others similarly situated who subscribe to a residential or wireless telephone

number that Defendant made telephone solicitation calls to despite such persons'

registration on the national or Georgia do not call registries.

      2.     In addition, Plaintiff seelcs redress on behalf of herself and all others

similarly situated who subscribe to a residential or wireless telephone number that

Defendant made telemarketing calls to without implementing the minimum

procedures for maintaining a company specific do not call list.

      3.     In addition, Plaintiff on behalf of herself and all others similarly

situated who subscribe to a cellular telephone number that Defendant made
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telemarketing calls to using an artificial or prerecorded voice without the prior

express consent of the called party.

      4.     Plaintiff alleges that Defendants' conduct violated the Telephone

Consumer Protection Act, 47 U.S.C. §227 ("TCPA"), the regulations promulgated

thereunder, 47 CFR § 64.1200, and Georgia's Public Utilities Code, O.C.G.A. §

46-5-27.

                    PARTIES AND PERSONAL JURISDICTION

      5.     Plaintiff, RUBY SMITH, is a natural person who resides in Coweta

County, Georgia and is authorized by law to bring this action.

      6.     Defendant, LIBERTY MUTUAL INSURANCE COMPANY

("Liberty Mutual") is an insurance company- formed in the State of Massachusetts

with its' principal place of business located at 175 Berkeley Street, Boston, MA

02116.

      7.     Liberty Mutual provides insurance services to customers throughout

the United States, including in the State of Georgia.

      8.     Liberty Mutual continually and systematically transacts business

within Georgia.

      9.    In the course of its business, Liberty Mutual regularly uses the

telephones to contact persons in Georgia and throughout the United States for the

purposes of selling insurance.

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      10.    In the course of its business, Liberty Mutual initiated telephone calls

to Plaintiffls cellular telephone number in Coweta County, Georgia.

      11.    The calls were received by Plaintiff in Coweta County, Georgia.

      12.    Plaintiff's causes of action arise from telephone calls initiated by

Liberty Mutual to her cellular telephone within Coweta County, Georgia.

      13.    Liberry Mutual is subject to the jurisdiction and venue of this court.

      14.    Liberty Mutual may be served by personal service upon its registered

agent for service of process within the State of Georgia, to wit: Corporation

Service Company, 40 Technology Pkwy South, Suite 300, Norcross, GA 30092.

      15.    Other defendants may be discovered in the course of litigation. As

such, Plaintiff respectfully requests that this Court permit the addition of later

discovered Defendants upon motion.

                                STATEMENT OF FACTS

      16.    The named Plaintiff is the subscriber and regular user of cellular

telephone service for telephone number (678) 634-6053.

      17.    This is her personal cellular telephone number that she uses for

residential, consumer purposes.

      18.    Plaintiff registered her telephone number on the National Do Not Call

Registry on October 20, 2016.



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         19.   By registering for the National Do Not Call Registry, Plaintiff also

registered for the Georgia Do Not Call Registry.

         20.   In 2019, Liberty made telephone calls to Plaintiff s cellular telephone
                              ,                        -

number for the purpose of soliciting the sale of Liberty Mutual products and /or

services.

    ' 21. Plaintiff has never provided Liberty Mutual with her cellular

telephone number.

         22.   Plaintiff has never provided Liberty Mutual with permission to make

or initiate calls to. her cellular telephone number. In fact, Liberty Mutual called

Plaintiff after she asked it to stop calling.

         23:   Plaintiff does not have an established business relationship with

Liberly Mutual.

         24.   The telephone calls were made using an automatic telephone dialing

system.

         25.   The telephone calls actually played an artificial and/or prerecorded

voice.

         26.   For example, Plaintiff recorded a call that she received on or about

October 10, 2019, by saying "Hello." The prerecorded voice then said in part:

               Hello, this is Liberty Mutual. The sooner you review your quote, the
               more we can help you save. To find out your options, press 1. Press 9
               to opt out. [pause] Hello, this is Liberty ... .

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The above recording stopped when Plaintiff pressed 1 to speak to a representative.

After Liberty Mutual played another recording aslcing Plaintiff to hold while it

connected her with Liberty Mutual Insurance, a human being identifying herself as
 i
from Liberty Mutual came on the line, at which time Plaintiff explained that she

had received multiple calls from Liberty Mutual, that on multiple prior calls she

had pressed "9" to opt out, and complained that the calls continued. Plaintiff

reiterated her prior requests to stop calling on this call.

      27.     The fact that the voice used on the telephone messages is artificial

and/or prerecorded is clear to the listener.

      28.     The voice requests that the recipient of the call press 1 to find out her

options for purchasing insurance or to press 9 to opt out. The initial prerecorded

message then "looped," which no human being would do.

      29.     The use of a touchtone keypad to interact with the voice on the

telephone indicates that the consumer is speaking with a previously recorded or

computer voice rather than a live person.

      30.     The use of an artificial or prerecorded voice is also indicative of the

use of an automatic telephone dialing system.

      31.     The purpose of the calls was to attempt to sell insurance products or

services to Plaintiff.


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        32.   The telephone calls made by Liberty Mutual to Plaintiff's and to the

class members' cellular telephone numbers were knowingly and willfully initiated.

        33.   Plaintiff did not desire to receive such calls to her cellular telephone

number, and Plaintiff and members of the class suffered harm as a result including,

but not limited to, annoyance, nuisance, harassment, invasion of the their

respective privacy interests, intrusion upon seclusion, trespass or occupation of

their respective telephone lines, and the time spent making do not call requests

deemed futile by the Defendants' refusal to honor such requests.

        34.   Moreover, Congress and the General Assembly have statutorily

elevated the rights of consumers to be free from and legally protected against the

types of calls which violate the TCPA and Public Utilities Code, and Liberty

Mutual has harmed the named Plaintiff and class members by invading this legally ~

protected right.

        35.   The legally protected rights under the TCPA and the Georgia Public

Utilities Code closely relate to rights enforceable at common law, including

without limitation to the torts of intrusion upon seclusion, nuisance, harassment,

tortuous infliction of emotional distress, and unreasonable collection practices.

        36.   All conditions precedent to bringing this action have been complied

with.



                                           :~
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                                 CLASS ALLEGATIONS

                CLASS I: ROBOCALL CLASS (Counts 1, 2, 3, and 4)

      37.    This action is brought on behalf of a class defined as (i) all persons to

whom a call was initiated by or at the direction of Defendants (ii) to such person's

cellular telephone number (iii) for the purposes of selling insurance products or

services (iv) which used an artificial or prerecorded voice (iv) in the four year

period preceding the filing of this action, through the date of class certification.

      38.    Plaintiff alleges a subclass of such persons who did not provide prior

express written consent to receive such calls.

      39.    The exact size of the class is information within the exclusive

knowledge of the Defendants.

      40.    The class is so numerous that joinder of all members is impractical.

      41.    The allegation of the previous paragraph is based, in part, upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, 2) the calls to Plaintiff were generic in a fashion which

indicates they were made using automated means; and 3) and the very purpose of

prerecorded voice calls is to call numerous persons in a short amount of time.

      42.    There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues are:

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             a. Whether Defendant made calls using an automatic telephone

                dialing system or an artificial or prerecorded voice;

             b. Whether Defendant has prior express written consent to make any

                such calls; and

             c. Whether the telephone calls were made knowingly or willfully.

       43.. The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       44. Plaintiff will fairly and adequately protect the interests of the class.

She has retained counsel experienced in handling TCPA actions and class actions.

Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       45. Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarketing calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not

                                          :
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obtain or even attempt to obtain relief, whether because they are unaware of their

right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       46. Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       47. Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       48. Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

her claims for injunctive relief.

       CLASS II: DO NOT CALL REGISTRY CLASS (Counts 5, 6, 7, and 8)

      49.       This action:is brought on behalf of a class defined as (i) all persons to

whom two or more calls were initiated wiihin any 12 month period by or at the

direction of Defendants (ii) to such person's residential or wireless telephone

number (iii) for the purposes of selling insurance products or services (iv) after

such person registered for the National Do Not Call Registry; (v) excluded from

the class are persons with whom Defendant can show it has an established business

relationship.

      50.       Plaintiff alleges a subclass of such persons whose numbers are

included in the Georgia Do Not Call Registry.



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      51.    The exact size of the class is information within the exclusive

knowledge of the Defendants.

      52.    The class is so numerous that joinder of all members is impractical.

      53.    The allegation of the previous paragraph is based, in part; upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, indicating Defendant did not honor do not call

registrations; 2) The calls to Plaintiff were generic in a fashion which indicates

they were made using automated means; and 3) and the very purpose of

prerecorded voice calls is to call numerous persons in. a short amount of time.

      54.    There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues are:

             a. Whether Defendant made telephone solicitation calls to telephone

                numbers registered on the National or Georgia Do Not Call

                Registry; and

             b. Whether the telephone calls were made knowingly or willfully.

       55.   The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       56.   Plaintiff will fairly and adequately protect the interests of the class.

She has retained counsel experienced in handling TCPA actions and class actions.

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Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       57.   Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarketing calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not

obtain or even attempt to obtain relief, whether because they are unaware of their

right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       58.   Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       59.   Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       60.   Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

her claims for injunctive relief.

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       CLASS III: INTERNAL DO NOT CALL LIST CLASS (Counts 9, 10)

      61.    This action is brought on behalf of a class defined as (i) all persons to

whom two or more calls were initiated by or at the direction of Defendants (ii) to

such person's residential or wireless telephone number (iii) for the purposes of

selling insurance products or services.

      62.    Plaintiff alleges a subclass of such persons who received such a call

after malcing a do not call request to Liberty Mutual.

      63.    The exact size of the class is information within the exclusive

knowledge of the Defendants.

      64.    The class is so numerous that joinder of all members is impractical.

      65.    The allegation of the previous paragraph is based, in part, upon the

following information: 1) Plaintiff herself received such calls to her cellular

telephone from Defendant, indicating Defendant did not honor do not call requests;

2) The calls to Plaintiff were generic in a fashion which indicates they were made

using automated means; and 3) and the very purpose of prerecorded voice calls is

to call numerous persons in a short amount of time.

      66.    There are questions of law and fact common to the class, which

common issues predominate over any issues involving only individual class

members. The principal issues are:



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             a. Whether Defendant made telemarketing calls to telephone numbers

                without maintaining the minimum standards required by those

                engaged in telemarlceting; and

             b. Whether the telephone calls were made knowingly or willfully.

       67. The claims of the Plaintiff are typical of those of the class members.

All are based on the same facts and legal theories.

       68. Plaintiff will fairly and adequately protect the interests of the class.

She has retained counsel experienced in handling TCPA actions and class actions.

Neither Plaintiff nor her counsel has any interests which might cause them not to

vigorously pursue this action.

       69. Certification of the class under Rule 23 is appropriate in that:

       a.    The questions of law or fact common to the members of the class

predominate over any questions affecting an individual member;

       b.    A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment will permit a large

number of similarly situated persons to prosecute their common claims relating to

Defendants' telemarlceting calls in a single forum simultaneously, efficiently, and

without the duplication of effort and expense that numerous individual lawsuits

would entail. Absent a class action, many members of the class will likely not

obtain or even attempt to obtain relief, whether because they are unaware of their

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right to relief from the harm caused by Defendants' illegal practices, due to the

prohibitive time and monetary cost inherent in individual litigation, or otherwise.

       70. Plaintiff requests certification of a class pursuant to Rule 23(b)(3) for

her claims of monetary damages.

       71. Defendant has acted on grounds that apply generally to the class

making final injunctive relief appropriate to the class as a whole.

       72. Plaintiff requests certification of a class pursuant to Rule 23(b)(2) for

her claims for injunctive relief.

                                    CAUSES OF ACTION

      COUNT ONE: TELEPHONE CONSUMER PROTECTION ACT:
     INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(b)(3)(A) TO
  REQUIRE DEFENDANT CEASE UNLAWFUL USE OF AUTOMATIC
              TELEPHONE DIALING SYSTEMS

       73. The acts described above constitute violations of the Telephone

Consumer Protection Act by Defendant's use of an automatic telephone dialing

system to make. and/or initiate calls to Plaintiffls and to class members' cellular

telephone numbers. As evidenced by Defendant's continuous calling of Plaintiff,

in violation of the TCPA, Defendant's policies and procedures violate the TCPA

on a continuing basis.

       74. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.


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       75.   The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from further use of automatic telephone dialing

system.

       76. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(b)(3)(A) to enjoin and prohibit

Defendant from use of an automatic telephone dialing system in the future.

       77. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(b)(3)(A) to enjoin and prohibit

Defendant from continuing use of an automatic telephone dialing system without

the prior express consent of the called party in the future.

        COUNT TWO: INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C.
 §227(b)(3)(A) TO REQUIRE DEFENDANT CEASE UNLAWFUL USE OF
         ARTIFICIAL OR PRERECORDED VOICE MESSAGES

       78. The acts described above constitute violations of the Telephone

Consumer Protection Act by Defendant's use of artificial or prerecorded voice

message to make and/or initiate calls to Plaintiff s and to class members' cellular

telephone numbers. As evidenced by Defendant's continuous calling of Plaintiff,

in violation of the TCPA, Defendant's policies and procedures violate the TCPA

on a continuing basis.

       79. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

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          80. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from further use of artificial or prerecorded voice

calls.

          81. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(b)(3)(A) to enjoin and prohibit

Defendant from use of artificial or prerecorded voice calls in the future.

          82. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(b)(3)(A) to enjoin and prohibit

Defendant from continuing use of artificial or prerecorded voice calls without the

prior express consent of the called party in the future.

             COUNT THREE: MONETARY DAMAGES PURSUANT TO 47
         U.S.C. § 227(b)(3)(B) FOR IMPROPER USE OF AN AUTOMATIC
                         TELEPHONE DIALING SYSTEM

          83. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act's prohibitions on the use of automatic telephone d'ialing

systems and the regulations promulgated thereunder.

          84. Defendant used an automatic telephone dialing system when it made

and/or initiated calls to plaintiff s cellular telephone number.

          85. Defendant's violations of the TCPA include, but are not limited to, the

following:



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          86. Making and/or initiating telephone calls using an automatic telephone

dialing system to any telephone number assigned to a cellular telephone service, in

violation of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 CFR §§ 64.1200(a)(1)(iii) and

(a)(2)•

          87. As a result of Defendant's actions, Plaintiff and the members of the

class are entitled to an award of damages of $500.00 for each such violation.

          88. Defendant's violations were committed willfully and knowingly.

          89. Plaintiff, on behalf of himself and the class, requests the court treble

damages pursuant to 47 U.S.C. §227(b)(3).

          COUNT FOUR: MONETARY DAMAGES PURSUANT TO 47 U.S.C.
          § 227(b)(3)(B) FOR IMPROPER USE OF AN ARTIFICIAL OR
                       PRERECORDED YOICE MESSAGE

          90. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act's prohibitions on the use of artificial or prerecorded voice

calls and the regulations promulgated thereunder.

          91. Defendant used an artificial or prerecorded voice when it made and/or

initiated calls to plaintiff s cellular telephone number.

          92. Defendant's violations of the TCPA include, but are not limited to, the

following:

          93.   Making and/or initiating telephone calls using an artificial or

prerecorded voiced message to any telephone number assigned to a cellular

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telephone service, in violation of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 CFR §§

64.1200(a)(1)(iii) and (a)(2).

       94. As a result of Defendant's actions, Plaintiff and the members of the

class are entitled to an award of damages of $500.00 for each such violation.

       95. Defendant's violations were committed willfully and knowingly.

       96. Plaintiff, on behalf of himself and the class, requests the court treble

damages pursuant to 47 U.S.C. §227(b)(3).

         COUNT FIVE: TELEPHONE CONSUMER PROTECTION ACT:
         MONETARY DAMAGES PURSUANT TO 47 U.S.C. §227(c)(5)(B)
            FOR NATIONAL DO NOT CALL VIOLATIONS

       97. The acts of Defendants constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

       98. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemaking proceeding concerning the need to protect

residential telephone subscribers' privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c)(1).

       99. The TCPA required the FCC to conclude such proceedings by issuing

regulations to implement methods and procedures for protecting such privacy

rights in an efficient, effective, and economic manner and without the imposition

of any additional charge to telephone subscribers. 47 U.S.C. § 227(c)(2).
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       100. The TCPA specifically permitted the FCC to issue regulations

requiring the establishment and operation of a single national database to compile a

list of telephone numbers of residential subscribers who object to receiving

telephone solicitations. 47 U.S.C. § 227(c)(3).

       101. The Federal Communications Commission's regulations provide:

      No person or entity shall initiate any telephone solicitation to...
      [a] residential telephone subscriber who has registered his or her telephone
      number on the national do-not-call registry of persons who do not wish to
      receive telephone solicitations that is maintained by the Federal
      Government. Such do-not-call registrations must be honored indefinitely, or
      until the registration is cancelled by the consumer or the telephone number is
      removed by the database administrator.

47 C.F.R. § 64.1200(c)(2).

       102. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       103. Defendant failed to maintain the procedures required by 47 C.F.R. §

64.1200(c)(2)(i).

       104. Defendant did not record Plaintiffs request not to receive calls from

Defendants.

       105. Defendant did not use any process to prevent them from calling

numbers on the National Do Not Call Registry.

       106. As a result of Defendant's actions in violation of the TCPA and the

Federal FCC's implementing regulations, Plaintiff is entitled to an award of

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damages up to $500.00 for each such violation pursuant to 47 U.S.C. §

227(c)(5)(B)•

       107. Defendant was aware of the TCPA's do not call rules and continued to

call. Defendant's conduct in violation of the TCPA and the Federal

Communications Commission's implementing regulatioris were willful or

knowing.

       108. . Plaintiff requests this Court treble damages for each such violation

pursuant to 47 U.S.C. § 227(c)(5).

         COUNT SIX: TELEPHONE CONSUMER PROTECTION ACT: ,
        INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(c)(5)(A) TO
          PREVENT NATIONAL DO NOT CALL VIOLATIONS

       109. The acts of Defendant constitute violations of the Telephone

Consumer Protection Act and/or its impleMenting regulations.

       110. The Federal Communications Commission's regulations provide:

      No person or entity shall initiate any telephone solicitation to...
      [a] residential telephone subscriber who has registered his or her telephone '
      number on the national do-not-call registry of persons who do not wish to
      receive telephone solicitations that is maintained by the Federal
      Government. Such do-not-call registrations must be honored indef nitely, or
      until the registration is cancelled by the consumer or the telephone number is
      removed by the database administrator.
                  ~
47 C.F.R. § 64.1200(c)(2).

       111. This provision. is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

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       112. Defendant did not use any process to prevent them from calling

numbers on the National Do Not Call Registry.

       113. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the TCPA, Defendant's policies and procedures violate the TCPA on a

continuing basis.

       114. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

       115. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from engaging in telemarketing or making

telephone solicitations.

       116. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations.

       117. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to 47 U.S.C. § 227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarlceting or making telephone solicitations to

telephone numbers on the National Do Not Call Registry.




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           COUNT SEVEN: GEORGIA PUBLIC UTILITIES CODE:
        MONETARY DAMAGES PURSUANT TO O.C.G.A. § 46-5-27(i) FOR
              GEORGIA DO NOT CALL VIOLATIONS

        118. The acts of Defendant constitute violations of the Georgia Public

Utilities Code.

        119. The Georgia Pubic Utilities Code Provides:

                    No person or entity shall make or cause to be made any
                    telephone solicitation to the telephone line of any residential,
                    mobile, or wireless subscriber in this state who has given notice
                    to the commission, in accordance with regulations promulgated
                    under subsection (d) of this Code section, of such subscriber's
                    objection to receiving telephone solicitations.

        O.C.G.A. § 46-5-27(c):

        120. By registering for the National. Do Not Call Registry, plaintiff and

members of the class in Georgia also registered for the Georgia Do Not Call

Registry. See O.C.G.A. § 46-5-27(d)(4).

        121. By making telephone solicitation calls to numbers assigned to the

Georgia Do Not Call Registry, Defendant violated the Georgia Public Utilities

Code.                                               -1




        122. Defendant knew it was making the telephone solicitation calls at issue

and knew that it had an obligation to determine if such numbers were on either the

National or Georgia Do Not Registries, but it failed to do so.




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         123. Plaintiff, and members of the putative class in Georgia, are entitled to

damages of $2,000 for each such knowing violation pursuant to O.C.G.A. § 46-5-

27(i).

              COUNT EIGHT: GEORGIA PUBLIC UTILITIES CODE:
           INJUNCTIVE RELIEF PURSUANT TO O.C.G.A. § 46-5-27(i) TO
             PREVENT GEORGIA DO NOT CALL VIOLATIONS

         124. The acts of Defendant constitute violations of the Telephone

Consurner Protection Act and/or its implementing regulations.

         125. The Georgia Pubic Utilities Code Provides:

                     No person or entity shall make or cause to be made any
                     telephone solicitation to the telephone line of any residential,
                     mobile, or wireless subscriber in this state who has given notice
                     to the commission, in _ accordance with regulations promulgated
                     under subsection (d) of this Code section, of such subscriber's
                     objection to receiving telephone solicitations.

O.C:G.A. § 46-5-27(c)

         126. By registering for the National Do Not Call Registry, plaintiff and

members of the class in Georgia also registered for the Georgia Do Not Call

Registry. See O.C.G.A. § 46-5-27(d)(4).

         127. By making telephone solicitation calls to numbers assigned to the

Georgia Do Not Call Registry, Defendant violated the Georgia Public Utilities

Code.




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       128. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the Georgia Public Utilities Code, Defendant's policies and procedures

violate Georgia law on a continuing basis.

       129. Based on Defendant's pattern and practice of violating the Georgia

law, future violations will continue.

       130. The only way to prevent the Defendant from continuing to violate

Georgia law is to enjoin the defendant from engaging in telemarketing or making

telephone solicitations to persons in the State of Georgia.

       131. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to O.C.G.A. § 46-5-27(i) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations to

persons in the State of Georgia.

       132. In the alternative, Plaintiff individually and on behalf of the class,

seeks injunctive relief pursuant to O.C.G.A. § 46-5-27(i) to enjoin and prohibit

Defendant from engaging in telemarketing or making telephone solicitations to

telephone numbers on the Georgia Do Not Call Registry.

         COUNT NINE: TELEPHONE CONSUMER PROTECTION ACT:
         MONETARY DAMAGES PURSUANT TO 47 U.S.C. §227(c)(5)(B)
            FOR INTERNAL DO NOT CALL VIOLATIONS

       133. The acts of Defendants constitute violations of the Telephone

Consumer Protection Act and/or its implementing regulations.

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       134. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemalcing proceeding concerning the need to protect

residential telephone subscribers privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c)(1).

       135. Congress specifically directed the FCC to "compare and evaluate

alternative methods and procedures" including the use of "company specific `do

not call' systems[.]" 47 U.S.C. § 227(c)(1)(A).

       136. The TCPA required the FCC to conclude such proceedings by issuing

regulations to implement methods and procedures for protecting such privacy

rights in an efficient, effective, and economic manner and without the imposition

of any additional charge to telephone subscribers. 47 U.S.C. § 227(c)(2).

       137. The Federal Communications Commission's regulations provide:

              No person or entity shall initiate any call for telemarketing purposes
              to a residential telephone subscriber unless such person or entity has
              instituted procedures for maintaining a list of persons who request not
              to receive telemarketing calls made by or on behalf of that person or
              entity.

       47 C.F.R. § 64.1200(d).

       138. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       139. The procedures required must include the following:



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            If a person or entity making a call for telemarketing purposes (or on
            whose behalf such a call is made) receives a request from a residential
            telephone subscriber not to receive calls from that person or entity, the
            person or entity inust record the request and place the subscriber's
            name, if provided, and telephone number on the do-not-call list at the
            time the request is made. Persons or entities making calls for
            telemarlceting purposes (or on whose behalf such calls are made) must
            honor a residential subscriber's do-not-call request within a reasonable
            time from the date such request is made. This period may not exceed
            thirty days from the date of such request. If such requests are recorded
            oir maintained by a party other than the person or entity on whose
            behalf the telemarketing call is made, the person or entity on whose
            behalf the telemarketing call is made will be liable for any failures to
            honor the do-not-call request. A person or entity making a call for
            telemarketing purposes must obtain a consumer's prior express
            permission to share or forward the consumer's request not to be called
            to a party other than the person or entity on whose behalf a
            telemarketing call is made or an affiliated entity.

          47 C.F.R. § 64.1200(d)(3).

       140. Recognizing that most callers have the ability to record and honor

such requests immediately, the FCC confirmed that such requests must be honored

within a reasonable time and that "telemarketers with the capability to honor such

company-specific do-not-call requests in less than thirty days must do so." Rules

and Regulation Implementing the Telephone Consumer Protection Act of 1991, 18

FCC Rcd. 14014, T 94 (FCC 2003).

       141. Because Defendants use an platform with an established means of

opting out with by pressing "9", Defendants have the capability to honor such




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    DNC requests immediately or at least by the following day. It was unreasonable

    not to honor such requests.

           142. Plaintiff repeatedly asked Liberty Mutual to stop calling her, including

    through pressing "9" during calls, which should have automatically and

    instantaneously logged — and honored — her request not to receive future calls.

            143. Liberty Mutual kept calling Plaintiffls cell phone — which is her

    personal phone — despite these repeated requests. _

            144. Liberty Mutual does not have an adequate written policy designed to

    prevent calling persons like plaintiff, who have requested not to be called.

    Alternatively and additionally, Liberty Mutual does not honor whatever policy it

    does have, or it has failed to adequately train the persons who maintain such.

            145. Defendants failed to maintain the procedures required by 47 C.F.R. §

    64.1200(d).

            146. Defendants did not record Plaintiff s request not to receive calls from

    Defendants.

            147. Defendants did not place Plaintiff s name and number on its do not

    call list at the time of Plaintiff's request.

            148. Defendants did not honor Plaintiff's request not to be called within a

    reasonable time from the date such request was made.



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           149. As a result of Defendants' actions in violation of the TCPA and the

    Federal FCC's implementing regulations, Plaintiff is entitled to an award of

    damages up to $500.00 for each such violation pursuant to 47 U.S.C. §

    227(c)(5)(B)•

           150. Defendants are aware of the TCPA's do not call rules and has

    continued to call after requests to stop calling. Defendants' conduct   in   violation of

    the TCPA and the Federal Communications Commission's implementing

    regulations was willful or knowing.

           151. Plaintiff requests this Court treble damages for each such violation

    pursuant to 47 U.S.C. § 227(c)(5).

           152. Defendant was aware of the TCPA's do not call rules and continued to

    call. Defendant's conduct in violation of the 'TCPA and the Federal

    Communications Commission's implementing regulations were willful or

J   knowing.

           153. Plaintiff requests this Court treble damages for each such violation

    pursuant to 47 U.S.C. § 227(c)(5).

             COUNT TEN: TELEPHONE CONSUMER PROTECTION ACT:
           INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. §227(c)(5)(A) FOR
                 INTERNAL DO NOT CALL VIOLATIONS

           154. The acts of Defendants constitute violations of the Telephone

    Consumer Protection Act and/or its implementing regulations.
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       155. The TCPA required the Federal Communication Commission

("FCC") to initiate a rulemaking proceeding concerning the need to protect

residential telephone subscribers privacy rights to avoid receiving telephone

solicitations to which the object. 47 U.S.C. § 227(c)(1).

       156. The Federal Communications Commission's regulations provide:

              No perso.n or entity shall initiate any call for telemarketing purposes
              to a residential telephone subscriber unless such person or entity has
              instituted procedures for maintaining a list of persons who request not
              to receive telemarketing calls made by or on behalf of that person or
              entity.

      47 C.F.R. § 64.1200(d).

       157. This provision is made applicable to wireless numbers by 47 C.F.R. §

64.1200(e).

       158. The procedures required must include the following:

              If a person or entity making a call for telemarketing purposes (or on
              whose behalf such a call is made) receives a request from a residential
              telephone subscriber not to receive calls from that person or entity, the
              person or entity must record the request and place the subscriber's
              name, if provided, and telephone number on the do-not-call list at the
              time the request is made. Persons or entities making calls for
              telemarketing purposes (or on whose behalf such calls are made) must
              honor a residential subscriber's do-not-call request within a reasonable
              time from the date such request is made. This period may not exceed
              thirty days from the date of such request. If such requests are recorded
              or maintained by a party other than the person or entity on whose
              behalf the telemarketing call is made, the person or entity on whose
              behalf the telemarketing call is made will be liable for any failures to
              honor the do-not-call request. A person or entity making a call for
              telemarketing purposes must obtain a consumer's prior express

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             permission to share or forward the consumer's request not to be called
             to a party other than the person or entity on whose behalf a
             telemarlceting call is made or an affiliated entity.

       47 C.F.R. § 64.1200(d)(3).

       159. Recognizing that most callers have the ability to record and honor

such requests immediately, the FCC confirmed that such requests must be honored

within a reasonable time and that "telemarketers with the capability to honor such

company-specific do-not-call requests in less than thirty days must do so." Rules

and Regulation Implementing the Telephone Consumer Protection Act of 1991, 18

FCC Rcd. 14014, ¶ 94 (FCC 2003).

       160. Because Defendants use an platform with an established means of

opting out with by pressing "9", Defendants have the capability to honor such

DNC requests immediately or at least by the following day. It was unreasonable

not to honor such requests.

       161. Plaintiff repeatedly asked Liberty Mutual to stop calling her, including

through pressing "9" during calls, which should have automatically and

instantaneously logged — and honored — her request not to receive future calls.

       1,62. Liberty Mutual kept calling Plaintiffls cell phone — which is her

personal phone — despite these repeated requests.

       163. Liberty Mutual does not have an adequate written policy designed to

prevent calling persons like plaintiff, who have requested not to be called.

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Alternatively and additionally, Liberty Mutual does not honor whatever policy it

does have, or it has failed to adequately train the persons who maintain such.

       164. Defendants failed to maintain the procedures required by 47 C.F.R. §

64.1200(d).

       165. Defendants did not record Plaintiff's request not to receive calls from

Defendants.

       166. Defendants did not place Plaintiff s name and number on its do not

call list at the time of PlaintifPs request.

       167. Defendants did not honor Plaintiff s request not to be called within a

reasonable time from the date such request was made.

       168. As evidenced by Defendant's continuous calling of Plaintiff, in

violation of the TCPA, Defendant's policies and procedures violate the TCPA on a

continuing basis.

        169. Based on Defendant's pattern and practice of violating the TCPA,

future violations will continue.

        170. The only way to prevent the Defendant from continuing to violate the

TCPA is to enjoin the defendant from engaging in telemarketing.

        171. Accordingly, Plaintiff, individually and on behalf of the Class, seeks

injunctive relief pursuant to 47 U.S.C. §227(c)(5)(A) to enjoin and prohibit

Defendant from engaging in telemarketing.

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                 COUNT ELEVEN: BAD FAITH ATTORNEY FEES .

       172. Defendant willingly, knowingly, and intentionally violated the TCPA

in making autodialed telemarketing calls and/or using an artificial or prerecorded

voice message to Plaintiff's and class member's cellular telephone numbers

without the parties' prior express written consent.

       173. Defendant willingly, knowingly, and intentionally violated the TCPA

and Georgia's Public Utilities Code in making telephone solicitation calls to

persons registered on the National and Georgia Do Not Call Registries.

       174. Defendant willingly, knowingly, and intentionally violated the TCPA

and in making telemarketing calls without maintaining minimum procedures for

maintaining a company specific do not call list.

       175. "Eveiy intentional tort invokes a species of bad faith that entitles a

person wronged to recover the expenses of litigation including attorney fees."

Tyler v. Lincoln, 272 Ga. 118, 527 S.E.2d 180 (Ga. 2000).

       176. "There is no requirement that a viable state law claim exist in order

for the jury to award litigation expenses pursuant to OCGA § 13-6-11. Rather,

`OCGA § 13-6-11 constitutes a vehicle for the collection of attorney fees' even

when only a federal law claim for damages is submitted to the finder of fact."

Fulton County v. Legacy Inv. Group, LLC, 296 Ga.App. 822, 827 (2009).

       177. Defendant has acted in bad faith, been stubbornly litigious or caused

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the Plaintiff, and the class members, unnecessary trouble and expense, and as such,

Plaintiff and the class members are entitled to an award of litigation expenses,

including a reasonable attorneys' fee, pursiiant to O.C.G.A. § 13-6-11.

                                 JURY TRIAL DEMAND

       178. Plaintiff hereby demands a trial by jury on all issues so triable.

                      DOCUMENT PRESERVATION DEMAND

       179. Plaintiff hereby demands that the Defendant take affirmative steps. to .

preserve all telephone recordings, data, emails, other recordings, phone records,

dialer records, documents and all other tangible things that relate to the allegations

herein, Plaintiff or the putative class members, or the making of telephone calls,

the events described herein, any third party, telemarketer or vendor associated with

any telephone call, campaign, telemarketing, account, sale- or file associated with

plaintiff or the putative class members, and any account or number or.symbol

relating to any of them. These materials are very likely relevant to the litigation of

this claim. If Defendant is aware of any third party that has possession, custody or

control of any such materials,-Plaintiff deinands that Defendant request that such

third party also take steps to preserve the materials. This demand shall not narrow

the scope of any independent document preservation duties of the defendant.




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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of "

himself and the class he seeks to represent against Defendant, as follows:

      A.    Certification of this matter to proceed as a class action;

      B.    That Plaintiff and the class be awarded damages in the liquidated

            amounts provided by the TCPA and Georgia Public Utilities Code;

      C.    That Plaintiff and the class be awarded treble damages;

  '   D.    In order to ensure plaintiff and members of the class do not receive

            future calls lilce those delineated here, that the defendant be

            permanently enjoined from making telemarketing calls;

      E.    That Plaintiff and members of the class be awarded the expenses of

            litigation, including a reasonable attorneys' fee; and

      F.    That Plaintiff and members of the class be awarded such additional

            relief as deemed just and proper.



            Respectfully submitted,




                             [Signatures on Following Page]




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                             SKAAR c4z FEAGLE, LLP

                             By:   /s/Justin T. Holcombe
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                                   Tel: (404) 373-1970
                                   Fax: (404) 601-1855




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                                                                                     Clerk of Superior Court
                    IN THE SUPERIOR COURT OF COWETA COUNTY                               1/24/2020 5:07 PM
                                STATE OF GEORGIA                                        Coweta County, GA
                                                                                   Cindy G. Brown, Clerk
                                                                           Case Number: SUV2020000117
RUBY SMITH,
c/o Skaar & Feagle, LLP
133 Mirrainont Lake Drive
Woodstocic, GA 30189

       Plaintiff,
                                                           CIVIL ACTION FILE
V.
                                                           No.
LIBERTY MUTUAL INSURANCE COMPANY,
c/o Corporation Service Company
40 Technology Parkway South, Suite 300
Norcross, Georgia 30092

       Defendant.


                                         SUMMONS

TO THE ABOVE NAMED DEFENDANT:

        You are hereby summoned and required to file with the CLERK of the Superior Court of
COWETA County, Georgia, 72 Greenville Street, Newnan, Georgia 30263, and serve upon the
Plaintiff's attorney, to wit, whose naine and. address is:

                                      Justin T. Holcombe
                                     Skaar & Feagle, LLP
                                   133 Mirramont Lake Drive
                                     Woodstock, GA 30189

An answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the coinplaint.


This     27th              7anuary, 2020
                      (Date)
                                                                 ~t►.~~

                                                           Clerk
                                                           Superior Court of Coweta County
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                                                                                      Clerk of Superior Court
                     IN THE SUPERIOR COURT OF COWETA COUNTY                               1/24/2020 5:07 PM
                                 STATE OF GEORGIA                                        Coweta County, GA
                                                                                    Cindy G. Brown, Clerk
                                                                            Case Number: SUV2020000117
RUBY SMITH,                                          .
c/o Skaar & Feagle, LLP
133 Mii-ramont Lake Drive                            :
Woodstock, GA 30189                                  :

       Plaintiff,
                                                     :      CIVIL ACT10N FILE
V.
                                                            No.
LIBERTY MUTUAL INSURANCE COMPANY, :
c/o Corporation Service Company
40 Technology Parkway Soutli, Suite 300
Norcross, Georgia 30092

       Defendant.




TO THE ABOVE NAMED DEFENDANT:

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                                      Justin T. Holcombe
                                     Skaar & Feagle, LLP
                                   133 Mirramont Lake Drive
                                     Woodstock, GA 30189

An answer to the coinplaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judginent by default
will be talcen against you for the relief demanded in the complaint.


This _ 27th                7anuary, 2020
                      (Date)

                                                                     ~
                                                            Clerk
                                                            Superior Court of Coweta Coiuity
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        Civil Action No.                                                                                 Magistrate Court                    ❑
                                               `                                                         Superior Court                      ❑
        Date Filed--                           `       Ii                                                State Court                         ❑
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                                                                                                         Georgia, Gwinnett County


        Attorney's Address                                                                                  .~ -~ i- ;. / } ; —        1•   ( ..,' .S : ~- •   -! ~~.
                                                                                                                                             ~                                               Plaintiff
                                                                                                                                                       vS.
                                                                                                                   (.,~. _{i j, r~. -- ~ .. _.~ _ : ; -~-~! ,._. - .~ r ( ~ f -~~.-+..G •'      -~




        Name and Address of party to be served.                                                                                                                                       Defendant




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                                          0
                                                                                Sheriff's Entry Of Service

~
    ❑    1 have this day served the defendant                                                                                                                    personally with a copy
y
d        of the within action and summons.
a

         I have this day served the defendant                                                                                                                                         by'leaving
         a copy of the action and summons at his most notorious place of abode in this County.
o
o❑       Delivered same into hands of                                                                                                                                    described as fqllows
o                                                                                                                                                                                    ,
z        age, about           years; weight, about                                        pounds; height, about                        feet and                         inches; domiciled at
         the residence of defendant.


~
°        Served the defendant                   ~-~~a        ~~' ~ r,I ~ . '
                                                                F                                                                                                              a corporation
                                           _._                   :
o.p~     by leaving a copy of the within action and summons with
0        in charge of the office and place of doing business of said Corporation in this County.


         I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the
~        premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States
Y p      Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate
~        postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the summons.
~


N        Diligent search made and defendant
W
c ❑      not to be found in the jurisdiction of this Court.
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        This                     f                                day of             20    ;<.) .

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         Sheriff Docket                                                      Page
                                                                                                                                   Gwinnett County, Georgia

        WHITE: Clerk                               CANARY: Plaintiff / Attorney                     PINK: Derendant

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